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               Feb 01, 2023


               Poll: Americans Don’t Want To
               Share Their Photo ID To Tweet

                                                                                                       Related Publications
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                       Taylor Barkley                                                                  Related Books
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                 Introduction                                                                          Beer Regulation
                 Legislators in Texas and Utah have introduced bills that would ban minors             Smoke or Vapor? Regulation of
                                                                                                       Tobacco and Vaping
                 from using social media. Utah’s two bills, SB 152 and HB 311 , would ban
                 minors under 18 barring parental or guardian permission. Texas’s legislation,         Related News
                 HB 896, would outright ban all users under the age of 18 from using social            Americans’ attitudes toward tech
                                                                                                       and media
                 media services. All would add age verification requirements for every user in
                                                                                                       CGO-YouGov poll shows increasing
                 each state. According to the sponsoring politicians and proponents, these             politicization of tech sector
                 bills are driven by the belief that these services have an overwhelmingly             Chart: How do American’s feel
                 negative impact on teenage users.                                                     about tech?

                 The effects of social media on teens are discussed elsewhere . No matter              Related Blogs
                 what one thinks of that research, the age verification requirements within            The state of data privacy in 2023
                 these bills would have an effect on the lives of all residents in each state.         Do social media platforms extract
                                                                                                       value from consumers?
                 Those policies are more easily analyzed. Additionally, recent survey data
                                                                                                       Everybody in politics hates how
                 from the Center for Growth and Opportunity and YouGov sheds some insight              social media works
                 on how Americans perceive these requirements.                                         Show More

                 Age Verification is Key                                                               Focuses
                 In order to effectively comply with the requirements set forth in these bills         Technology and Innovation
                 and any future legislation aimed at protecting a certain age group, social            States
                 media companies would need to know the ages of their users. This is known             Texas
                 as “age verification” and is common practice for many websites, apps, and             Utah
                 social media platforms. There are multiple methods of verifying user ages
                 and identification, all with trade-offs, but these bills would require the use of
                 government issued identification such as passports, drivers licenses, or birth
                 certificates. They avoid requiring minors to submit identification documents.

                 In the case of the Utah bills, in addition to government identification, parents
                 or legal guardians would be required to submit statements that show the
                 person submitting the information is a parent or legal guardian and a
                 statement of consent from the parent that the minor is in their care. These
                 statements must then be verified by the platform. The Texas legislation is
                 simpler in its language and states: “A social media platform shall verify the
                 age of the account holder by requiring the account holder to provide a copy
https://www.thecgo.org/benchmark/poll-americans-dont-want-to-share-their-photo-id-to-tweet/                                                       Page 1 of 3
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                  the account holder’s driver’s license alongDocument       44-13
                                                              with a second photo showingFiled 05/31/24   PageID.408   Page
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               both the account holder and the driver’s license in a manner that allows the
                 social media company to verify the identity of the account holder.”

                 For all these bills, any Texas or Utah resident who wants to open or retain
                 their social media account would be required to submit proof of
                 identification in the form of a government ID.

                 What do Americans think about complying
                 with the age verification requirements in
                 these bills?
                 In a recent poll, the CGO asked Americans if they are “comfortable sharing a
                 government identification document like a driver’s license with social media
                 companies in order to verify age.” The survey found that 2 out of 3 of
                 Americans are not comfortable sharing their identification document with
                 social media companies. 1 in 10 Americans were unsure.

                 We also asked survey participants if they are “comfortable sharing my child’s
                 government identification documents with social media companies in order
                 to verify age.” On this question, 7 out of 10 Americans were uncomfortable
                 with that prospect. A little over 1 in 10 Americans were unsure.

                 Another option for age verification is biometric identification, which uses
                 methods like fingerprint data, facial recognition, voice stamps, or other
                 markers unique to each individual’s body. Although these three bills do not
                 require biometric identification methods, Americans were equally
                 uncomfortable with those practices. Of course, these practices are common
                 with smartphone technology deploying facial recognition to unlock phones.
                 However, because of trade-offs and historically low accuracy, they are more
                 experimental when it comes to publicly accessible websites and apps.
                 Currently Meta is experimenting with these methods for its Facebook Dating
                 service and Instagram app. They have partnered with a third party firm, Yoti,
                 that scans faces via the camera on the smartphone and analyzes facial
                 patterns to estimate age. Based on the analysis, users would then have or
                 lose access to the platform.

                 Nonetheless, 2 out of 3 Americans are not comfortable sharing their
                 biometric information with platforms and nearly 7 out of 10 were not
                 comfortable with their children using such methods.

                 It is worth noting that there are differences of opinion on these questions

                 based on the age of the survey respondent. Generally speaking, our survey
                 revealed that 18-44 year olds are slightly more amenable to age verification
                 requirements than 45-65+ year olds. Yet the fact remains that no age
                 demographic segment favors either verification method for themselves or
                 their children. In fact, across all age groups, disapproval rises when asked
                 about applying these methods to their children.

                 What this Means
                 The issue of age verification is the key issue for the implementation of each
                 of these bills. Without age verification, these bills and their policies could not
                 be targeted at minors. Although other means of age verification could be
                 required, the options are few, all have trade-offs, and most remain deeply
                 unpopular. Americans are less than enthusiastic about how they will come
                 into contact with policy-made-reality.

                 Aside from anyone’s opinion on the matter, there remain troubling issues
                 with age verification requirements when required by the government for
                 widely accessible platforms.
https://www.thecgo.org/benchmark/poll-americans-dont-want-to-share-their-photo-id-to-tweet/                                   Page 2 of 3
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           CaseThese
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                     restrictions for minors and age verification           44-13
                                                                  requirements  for adultsFiled 05/31/24                     PageID.409                       Page
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               could be violations of speech rights for each age group in Utah and Texas.
                 Each bill would require all users to provide an ID or be banned, effectively,
                 from using social media. Such requirements might constitute an
                 unreasonable burden. While the issue might be clearer for adults, there is
                 Supreme Court and lower court precedent for the speech rights of minors .
                 Government age restriction of substances like alcohol or tobacco or activities
                 like driving, are not helpful analogs because those activities do not entail
                 clearly defined, constitutionally protected rights.

                 These bills would create a barrier to access that could leave many benefits
                 unrealized. For example, in a TEDx talk from 2020 , Dylan Huey gave a talk
                 called “Social Media Saved My Life,” telling the story of how it was a lifeline
                 for him during difficult middle school years. It also opened up new creative
                 outlets he would have otherwise missed. Were he to live in a state with the
                 kinds of restrictions outlined in these bills, all the positive outcomes Dylan
                 outlined might not be possible.

                 For all three bills, there is a risk of identification forgery or misuse much like
                 raising the drinking age to 21 did to increase the number of fake
                 identifications . Social media platforms are immensely popular among teen
                 users and have become woven into their daily lives–which is part of the
                 motivation for these bills. Should they become law, those realities would not
                 disappear. It’s not inconceivable that minors in each state would find various
                 means of circumventing the law thus putting themselves and the companies
                 at risk. Policymakers, teens, parents, and caregivers would then continue a
                 cat and mouse game of increasingly onerous identification requirements
                 that, instead of bolstering mental health of teens, will only create a
                 generation of experts at dodging the law.

                 Given all these factors, policymakers in Utah, Texas, other states, and the
                 federal government would do well to listen to the opinions of Americans.



                 CGO scholars and fellows frequently comment on a variety of topics for the popular press.
                 The views expressed therein are those of the authors and do not necessarily reflect the views
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